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UNITED STATES DISTRICT COURT                                         SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division         Victoria                              Case Number               6:23-cv-00007
                                           State of Texas, et. al.


                                                    versus
                               Department of Homeland Security, et. al.



           Lawyer’s Name                  Matthew Price
                Firm                      Jenner & Block LLP
                Street                    1099 New York Ave NW #900
          City & Zip Code                 Washington, D.C. 20001
         Telephone & Email                202-639-6873; MPrice@jenner.com
      Licensed: State & Number            D.C.: 996158; Mass.: 668990
       Federal Bar & Number               See Attached



 Name of party applicant seeks to                   Lutheran Immigration and Refugee Service
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       8/16/2023         Signed:                         /s/ Matthew E. Price



 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                             United States District Judge
